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                               United States District Court
                                         for the
                               Southern District of Florida

   United States of America,               )
   Plaintiff                               )
                                           )
   v.                                      )
                                             Criminal Case No. 18-20463-CR-Scola
                                           )
   Ronald Bernadino Ruiz-Mendez,           )
   Defendant.                              )

                  Order Granting Motion for Sentence Reduction
         This matter is before the Court on Defendant Ronald Bernadino Ruiz-
  Mendez’s motion for a reduction of his sentence pursuant to 18 U.S.C. §
  3582(c)(2). (Def.’s Mot., ECF No. 32.) Previously, the Court granted the
  Defendant’s motion but has since vacated that order (ECF No. 36), in response
  to the Government’s motion for reconsideration (Gov’t’s Mot., ECF No. 37).
  Additionally, the Court appointed counsel to represent the Defendant in
  responding to the Government’s motion for reconsideration. The Defendant has
  since responded (Def.’s Resp., ECF No. 57) to the Government’s motion. The
  Government has not replied and the time to do has passed. After careful review,
  the Court grants the Government’s motion for reconsideration (ECF No. 37),
  thus also granting the Defendant’s motion for a reduction of his sentence (ECF
  No. 32).

        1. Background
         On May 31, 2018, the Defendant was indicted for participating in a
  conspiracy to distribute five kilograms or more of cocaine, intending, knowing,
  and having reasonable cause to believe it would be unlawfully imported into the
  United States. (ECF No. 1.) After being arrested in and extradited from
  Guatemala, the Defendant ultimately pleaded guilty, on May 14, 2021, to the
  sole count in the indictment. (ECF Nos. 16–18.)
         The United States Probation Office prepared a pretrial services report
  (“PSI”), which determined that the Defendant had a total offense level of 33, a
  criminal history category of I, and an advisory guideline range of 135 to 168
  months. (Gov’t’s Mot. at 2.) Based on the Defendant’s truthful cooperation,
  however, the Court varied below the guidelines and sentenced the Defendant to
  only 120 months, followed by two years of supervised release. (Gov’t’s Resp. at
  2.)
         Since the Defendant was sentenced, the United States Sentencing
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  Commission issued a sentencing adjustment for certain zero-point offenders,
  which provides, in relevant part, for “a decrease of two levels from the offense
  level . . . for offenders who did not receive any criminal history points . . . and
  whose instant offense did not involve specified aggravating factors” (“Amendment
  821”). The Defendant now seeks retroactive application of Amendment 821 to the
  Court’s judgment sentencing him to 120 months in prison and two years of
  supervised release.

     2. Legal Standard
         “[A] motion to modify an otherwise final judgment pursuant to § 3582(c)(2)
  is a limited and narrow exception to the rule that final judgments are not to be
  modified.” United States v. Armstrong, 347 F.3d 905, 909 (11th Cir. 2003)
  (cleaned up). Specifically, § 3582(c)(2) provides:
        [I]n the case of a defendant who has been sentenced to a term of
        imprisonment based on a sentencing range that has subsequently
        been lowered by the Sentencing Commission . . . , the court may
        reduce the term of imprisonment, after considering the factors set
        forth in section 3553(a) to the extent that they are applicable, if
        such a reduction is consistent with applicable policy statements
        issued by the Sentencing Commission.
  18 U.S.C. § 3582 (emphasis added). Thus, under § 3582(c)(2), the Court must
  undertake a two-step process to determine whether a final sentence should be
  modified based on a sentencing range that has been lowered by the Sentencing
  Commission.
        First, the Court must determine if a retroactive amendment to the
  Sentencing Guidelines indeed lowered a defendant’s guidelines range and
  whether a reduction is consistent with the applicable policy statements. Second,
  the Court must consider the § 3553(a) factors to determine if it will exercise its
  discretion to reduce that defendant’s sentence.
        Among other things, the Sentencing Commission policy statement
  applicable here provides that a court “shall not reduce the defendant’s term of
  imprisonment under 18 U.S.C. § 3582(c)(2) . . . to a term that is less than the
  minimum of the amended guideline range[.]” U.S.S.G. § 1B1.10(b)(2)(A).
        Finally, the § 3553(a) factors are: (1) the nature and circumstances of the
  offense and the history and characteristics of the defendant; (2) the need for the
  sentence imposed to reflect the seriousness of the offense, promote respect for
  the law, provide just punishment for the offense, afford adequate deterrence to
  criminal conduct, protect the public from further crimes of the defendant, and
  provide the defendant with needed educational or vocational training, medical
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  care, or other correctional treatment in the most effective manner; (3) the kinds
  of sentences available; (4) the applicable sentencing guidelines range; (5) any
  pertinent policy statement; (6) the need to avoid unwarranted sentence
  disparities among defendants with similar records who have been found guilty of
  similar conduct; and (7) the need to provide restitution to any victims of the
  offense. See 18 U.S.C. § 3553(a).

     3. Analysis
        As noted, the retroactive amendment that the Defendant invokes here is
  Amendment 821—the adjustment for certain zero-point offenders. See U.S.S.G. §
  4C1.1. Pursuant to Amendment 821, a defendant is eligible for a two-level
  reduction in his offense level, if he meets all the following criteria:
        (1) the defendant did not receive any criminal history points from
        Chapter Four, Part A;
        (2) the defendant did not receive an adjustment under §3A1.4
        (Terrorism);
        (3) the defendant did not use violence or credible threats of
        violence in connection with the offense;
        (4) the offense did not result in death or serious bodily injury;
        (5) the instant offense of conviction is not a sex offense;
        (6) the defendant did not personally cause substantial financial
        hardship;
        (7) the defendant did not possess, receive, purchase, transport,
        transfer, sell, or otherwise dispose of a firearm or other dangerous
        weapon (or induce another participant to do so) in connection with
        the offense;
        (8) the instant offense of conviction is not covered by §2H1.1
        (Offenses Involving Individual Rights);
        (9) the defendant did not receive an adjustment under §3A1.1
        (Hate Crime Motivation or Vulnerable Victim) or §3A1.5 (Serious
        Human Rights Offense); and
        (10) the defendant did not receive an adjustment under §3B1.1
        (Aggravating Role) and was not engaged in a continuing criminal
        enterprise, as defined in 21 U.S.C. § 848[.]
  See id.
        Here, as the Government acknowledges, a review of the Defendant’s case
  reveals he is indeed eligible for a sentence reduction pursuant to Amendment
  821. The Defendant qualifies for the adjustment for zero-point offenders because
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  he meets all the criteria set forth above. In addition, as the Government agrees, a
  reduction in the Defendant’s sentence is consistent with the applicable policy
  statements.
         Specifically, application of the two-level reduction in the Defendant’s
  sentence results in offense level of 31, instead of 33, with a new guideline range
  of 108 to 135 months. Upon considering the § 3553(a) factors, the Court
  concludes (with no objection from the Government), that the Defendant is
  entitled to a reduction of his sentence to the low-end of his reduced guidelines.
  Although the Court initially varied below the guidelines, the Court is not
  permitted to “reduce the defendant’s term of imprisonment under 18 U.S.C. §
  3582(c)(2) and this policy statement to a term that is less than the minimum of
  the amended guideline range.” U.S.S.G. § 1B1.10(b)(2)(A).
         There is, however, a narrow exception to this general rule, but it does not
  apply here, as the Defendant suggests. Under subdivision (B), “[i]f the term of
  imprisonment imposed was less than the term of imprisonment provided by the
  guideline range applicable to the defendant at the time of sentencing pursuant to
  a government motion to reflect the defendant’s substantial assistance to
  authorities, a reduction comparably less than the amended guideline range
  determined under subdivision (1) of this subsection may be appropriate.”
  U.S.S.G. § 1B1.10(b)(2)(B). This “comparably less” carveout, however, applies
  only to defendants who cooperated with the government and received a sentence
  reduction either under U.S.S.G. § 5K1.1 or Rule 35(b). When “[t]he Commission
  amended § 1B1.10(b)(2),” it “prohibit[ed] § 3582(c)(2) reductions below a
  prisoner’s amended guidelines range, unless the original sentence had been
  below the applicable guidelines range because of a reduction based upon the
  defendant’s substantial assistance to authorities.” United States v. Colon, 707
  F.3d 1255, 1259 (11th Cir. 2013); see also United States v. Gonzalez-Murillo, 852
  F.3d 1329, 1335-36 (11th Cir. 2017) (same).
         Although the Court previously varied below the Defendant’s original
  guidelines, based on the Defendant’s truthful cooperation, that is not the same
  as the Government’s having filed a motion based on the Defendant’s providing
  substantial assistance. On the other hand, if the Government ultimately files a
  Rule 35 motion for a downward departure, subsequent to this order, the Court
  will certainly consider a further reduction to the Defendant’s sentence.

     4. Conclusion
        Accordingly, based on the foregoing, the Court grants the Government’s
  motion for reconsideration as well as the Defendant’s motion for a reduction in
  his sentence (ECF Nos. 32, 37). The Court reduces the Defendant’s sentence to
  108 months in prison, with all other terms and conditions to remain in effect,
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  including his two years of supervised release.
        Done and ordered in Miami, Florida on April 23, 2024.


                                             ________________________________
                                             Robert N. Scola, Jr.
                                             United States District Judge
